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                                                                                           FILED
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA                              NOV - 9 2020
                                     Newport News Division
                                                                                   ULLHK. U.S. DISTRICT COURT
 W ILLIAM ANDREW MERRITT,                                                                 NORFOLK, VA



                       Petitioner,

 V.                                                     CRIMINAL ACTION NO. 4;I()-cr-54


 UNITED STATES OF AMERICA,

                       Respondent.

                            MEMORANDUM OPINION AND ORDER


        Before the Couil is William Andrew Merritt's ("Petitioner") motion, through counsel,

pursuant to 28 U.S.C.       2255, to Vacate, Set Aside, or Correct Sentence. ECF No. 65. The

Government opposed the motion and Petitioner replied. ECF Nos. 69, 73. Therefore, the matter is

now ripe for judicial determination. Having reviewed the motion and filings, the Court finds that

a hearing is not necessary to address Petitioner's motion. See 28 U.S.C. § 2255(c). For the reasons

set forth below, Petitioner's § 2255 Motion is DENIED.

                       I.    FACTUAL AND PROCEDURAL HISTORY


        On April 14. 2010, a federal grand Jury returned a one-count Indictment charging Petitioner

with Felon in Possession of a Firearm and Ammunition, in violation of 18 U.S.C. 922(g)(1) and

924(a)(2)(Count One). ECF No. 1. On March 16, 2010, Petitioner pleaded guilty to Count One of

the Indictment. ECF Nos. 12, 13. According to Petitioner's Presentcnce Investigation Report

("PSR"), the parties stipulated to no written plea agreement. ECF No. 20 at [f 2-3. In Petitioner's

Statement of Facts ("SOF"). Petitioner agreed that, on March 11, 2010, a woman called the police

to report that a man at the Traveler's Inn in Newport News, Virginia had threatened her with a

gun. ECF No. 13 at [f I. When the police arrived. Petitioner walked out of the front entrance of the
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Traveler's Inn and, when police asked for his name, Petitioner stated, "the guy you just got called

about." Id. at [f 2. When the police attempted to pat Petitioner down for weapons, Petitioner ran

into his room. Id. at [f 3. The police chased Petitioner into the room and when Petitioner exited the

bathroom the officer entered the bathroom and found a semi-automatic handgun in plain view in a

green storage container. Id. at ff 3-4. When asked. Petitioner stated that the gun belonged to him.

Id. at If 6. In his SOF, Petitioner also agreed that he had been "convicted in 1998 for Possession of

Stolen Goods, in 2002 for Robbeiy in the Second Degree, and in 2008 for Eluding Police, which

are felony crimes punishable by imprisonment for a temi exceeding one year." Id. at jf 8.

        On November 29, 2010, the Court held a sentencing hearing where the Court accepted the

Petitioner's guilty plea and SOF. ECF No. 22. The Court then imposed a 66-month sentence on

Count One followed by three years of supervised release. ECF No. 23. Petitioner appealed his

sentence, arguing that the Court erred in finding that he assaulted a law enforcement officer in the

course of the offense. ECF Nos. 24, 26. However, on August 10, 2011, the United States Court of

 Appeals for the Fourth Circuit("Fourth Circuit") affimied the district court's decision. See United

States V. Merritt. 442 F. App'x 790, 791 (4th Cir. 201 1); ECF No. 39.

        On August 4, 2015, Petitioner started his period of supervised release. On December 8,

2015, the Probation Officer filed a Petition of Supervised Release alleging that the Petitioner

violated mandatory conditions. ECF No. 41. On January 28, 2016, Petitioner was sentenced to

eighteen (18) months incarceration for violating the tenns of his supervised release. ECF Nos. 51,

52. On May 26, 2017, Petitioner started his second period of supervised release.

        On April 30, 2018, Petitioner pleaded guilty in the U.S. District Court for the Eastern

 District of Virginia/Newport News Division to Felon in Possession of Firearm (offense date

August 31, 2017). See United States v. William A. Merritt, No. 4:l8crl6-l, Dkt. 35, 36(E.D. Va.
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 October 1, 2020 ("No. 4:18crl6"). On September 27, 2018, the Court sentenced Petitioner to

seventy-eight (78) months imprisonment to be served consecutively to No. 4:10cr54. See Id. at

 EOF No. 55.


        On June 5, 2018, a Petition on Supervised Release was filed alleging that Petitioner

 violated the conditions of his release which included possessing a firearm while a convicted felon.

ECF No. 53. On July 16, 2018, the Court revoked Petitioner's second period of supervised release

and sentenced Petitioner to 18-months incarceration to run consecutive to his sentence for the 2018


conviction for being a felon in possession. ECF Nos. 63, 64; see No. 4:18crl6. Petitioner is

incarcerated at the United States Penitential^ Big Sandy, a high-security federal prison in

 Kentucky. Petitioner is scheduled to be released on September 3, 2024.

        On June 19, 2020, Petitioner filed the instant Motion to Vacate Sentence under 28 U.S.C.

§ 2255 for his 2010 offense. ECF Nos. 65. The United States opposed the motion on August 24,

2020. ECF No. 69. On September 30,2020, Petitioner filed a reply to the United States' opposition.

 ECF No. 73. Therefore, the matter is now ripe for judicial determination.

                                    II.    LEGAL STANDARD


    A. Section 2255


    Section 2255 allows a federal prisoner "claiming the right to be released upon the ground that

the sentence was imposed in violation of the Constitution or laws of the United States . . . [to]

 move the court which imposed the sentence to vacate, set aside, or correct the sentence." 28 U.S.C.

§ 2255. In a § 2255 motion, the petitioner bears the burden of proving his or her claim by a

preponderance of the evidence. See Miller v. United States, 261 F.2d 546, 547 (4th Cir. 1958).

 Additionally, pro se filers are entitled to more liberal construction of their pleadings. Erickson v.

PardiLs, 551 U.S. 89, 94(2007).
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    When deciding a § 2255 motion, the Court must promptly grant a hearing "unless the motion

and the files and records of the case conclusively show that the prisoner is entitled to no relief."

28 U.S.C. § 2255(b). Motions under § 2255 generally "will not be allowed to do service for an

appeal." Sima! v. Large, 332 U.S. 174, 178-79 (1947). For this reason, issues already fully

litigated on direct appeal may not be raised again under the guise of a collateral attack. Unilecl

Stales V. Dyess, 730 F.3d 354, 360 (4th Cir. 2013). Issues that should have been raised on direct

appeal are deemed waived, procedurally defaulted, and cannot be raised on a § 2255 Motion.

 United Slates v. Mikalajunas, 186 F.3d 490,492(4th Cir. 1999).

        However, an individual may raise a procedurally defaulted claim if he or she can show (1)

"cause and actual prejudice resulting from the eiTors of which he complains" or (2) that "a

miscaniage ofjustice would result from the refusal of the court to entertain the collateral attack..

. [meaning] the movant must show actual innocence by clear and convincing evidence." Id. at

492-93. To demonstrate cause and prejudice, a petitioner must show the eiTors "worked to [his or

her] actual and substantial disadvantage, infecting [his or her] entire trial with error of

constitutional dimensions." United States v. Frady, 456 U.S. 152, 170 (1982). Ineffective

assistance of counsel claims should generally be raised in a collateral motion instead of on direct

appeal and constitute sufficient cause to review a procedurally defaulted claim. See Untied States

V. Benton, 523 F.3d 424, 435 (4th Cir. 2008); Mikalajimas, 186 F.3d at 493.

    B. Guilty Pleas' Effect on 2255 Motions

    Guilty pleas are "'grave and solemn act[s] to be accepted only with care and discernment.'"

 United States v. Moussaui, 591 F.3d 263,278(4th Cir. 2010)(quoting Brady v. United States, 397

U.S. 742, 748(1970)). As such, when a defendant makes a knowing and voluntai7 guilty plea, that
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 person '"waives all nonjurisdictional defects in the proceedings conducted prior to entry of the

 plea.'" Id. at 279(quoting United States v. Bundy, 392 F.3d 641,644(4th Cir. 2004)).

    Moreover, a guilty plea generally limits collateral attacks to "whether the plea was counseled

or voluntaiy." Fields v. Attorney Gen. ofMd., 956 F.2d 1290, 1295 (4th Cir. 1992)(citing United

States V. Brace, 488 U.S. 563, 569 (1989)). As such, a claim of ineffective assistance prior to the

guilty plea may undermine that plea. Id. However, claims of ineffective assistance when there is a

guilty pica on the record must meet a higher burden beyond the normal Strickland requirements.

See Strickland v. Washington, 466 U.S. 668(1984). When there is a guilty plea, in order to satisfy

the prejudice prong, a defendant must show that but for counsel's ineffective assistance, he would

 not have pled guilty and would have gone to trial. Meyer v. Branker, 506 F.3d 358, 369 (4th Cir.

2007)(quoting Hill v. Lockhart,474 U.S. 52,59(1985)). Furthemiore, any statements made under

oath are binding on the defendant, including any statements that confinu satisfaction of counsel.

 Fields, 956 F.2d at 1299 (citing Blackledge v. Allison, 431 U.S. 63, 74-75 (1977)).

    C. Evaluating § 922(g) Claims Pursuant to Rehaif

    Pursuant to 18 U.S.C. §§ 922(g)( 1), it is unlawful for a person "convicted in any court, ofcrime

 punishable by imprisonment for a term exceeding for a year" to possess a firearm. In Rehaif, the

Supreme Court held that in "a prosecution under § 922(g) and § 924(a)(2), the Government must

 prove both that the defendant knew he possessed a firearm and that he knew he belonged to the

 relevant categoiy of persons barred from possessing a fireann." Rehaifv. United States, 139 S. Ct.

2191, 204 L. Ed. 2d 594(2019){emphasis added).

    The Fourth Circuit held that, on direct appeal,"a standalone Rehaiftnov [is examined] under

 plain eiTor review because such an error is stmctural, which per se, affects a defendant's substantial

 rights." United States v. Gary, 954 F.3d 194, at 200 (4th Cir. 2020); see also United States v.
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 Lockharf, 947 F.3d 187, at 197 (4th Cir. 2020)(Holding that the district court made a plain error

in the plea colloquy by not infomiing Petitioner of a mandatory minimum sentence if he pleaded

guilty.). Moreover, the Fourth Circuit found that, because the plain error "seriously affect[ed] the

fairness, integrity or public reputation of judicial proceedings, [the Court] must exercise [its]

discretion to correct the error." Gary at 200; see also United States v. Olano,507 U.S. 725, at 732,

(1993); see also. United States v. Knight, 606 F3d 171, 177 (4th Cir. 2010). In Gary, the Fourth

Circuit applied RehaiJ \.o hold that the district court eired in accepting defendant's guilty plea

 without first informing him that the government was required to prove that the defendant knew

that he belonged to a class of persons barred from possessing a firearm. Gary, at 194. The Fourth

Circuit held that the district court's failure to inforni the defendant that the government was

required to prove that the defendant knew he belonged to class of persons prohibited from

 possessing fireann was a structural en-or, and thus, substantially affected his rights. Id. at 207.

Therefore, the Fourth Circuit vacated defendant's guilty plea and conviction. Id. at 208.

                                       III.   DISCUSSION


 A. Petitioner's Motion is Untimely

    The Court finds that Petitioner's motion is untimely because he is no longer in federal custody

for the sentence for which he seeks relief. On November 29, 2010, the Court imposed a 66-month

sentence on Count One, for the instant matter, followed by three years of supervised release. ECF

 No. 23. On August 4, 2015, Petitioner started his period of supervised release and, on January 28,

2016, Petitioner was sentenced to eighteen (18) months incarceration for violating the terms of his

supervised release. ECF Nos. 41, 51, 52. On May 26, 2017, Petitioner started his second period of

supeiwised release. However, on April 30, 2018, Petitioner pleaded guilty to Felon in Possession

of Firearm (offense date August 31, 2017). See No. 4:18crl6 at ECF Nos. 35, 36.
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    Accordingly, on June 5, 2018, a Petition on Supervised Release was filed for No. 4:10cr54

 alleging that Petitioner violated the conditions of his release due to the 2018 conviction. ECF No.

53;see No.4:18cri6. On July 16,2018,the Court revoked Petitioner's second period ofsupervised

 release, for No. 4:10cr54, and sentenced Petitioner to 18-months incarceration to run consecutive

to any sentence imposed for the 2018 conviction for being a felon in possession. ECF Nos. 63,64;

see No. 4:18crl6. On September 27, 2018, the Court then sentenced Petitioner, for the 2018

conviction, to seventy-eight(78) months imprisonment to be served consecutively to No.4:10cr54.

See No. 4:18crl6 at ECF Nos. 53, 55.

    Consequently, Petitioner served his 18-month sentence for No. 4:10cr54 prior to serving his

78-month sentence for No. 4:18crl6. Petitioner is now serving his 78-month for his 2018 offense

for No.4:18cr 16. Thus, Petitioner completed his 18-month sentence for No.4:10cr54 prior to filing

the instant motion and is not subject to supervised release for that sentence.

    Therefore, Petitioner's Motion to Vacate Sentence under 28 U.S.C. § 2255 for his 2010 offense

is untimely and moot because Petitioner is no longer serving a sentence for No. 4:10cr54. For the

reasons stated above, Petitioner's § 2255 Motion is DENIED.

 B. Motion is Procedurallv Defaulted


    In the alternative, the Court finds that Petitioner's claim is procedurally defaulted. For the

forgoing reasons. Petitioner's § 2255 Motion is also DENIED.

    Petitioner argues that he was not advised in 2010 by counsel that an element of the § 922(g)(1)

offense required the government to prove, beyond a reasonable doubt, that Petitioner knew that he

 was in a class of prohibited people who had been previously convicted of a crime punishable by a

tenn of imprisonment exceeding a year. ECF No. 65 at 1. Specifically, Petitioner contends that

 pursuant to Gary, the ^'Rehai/Qvror ... in the context of a guilty plea constitutes structural error,"
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 and, thus, sustainably prejudiced the Petitioner. Petitioner claims that his plea agreement is

constitutionally invalid because it was neither voluntaiy nor intelligent. ECF No. 65 at 7.

    The Government argues Petitioner's claim is procedurally defaulted because Petitioner cannot

 demonstrate neither actual innocence nor cause and prejudice. ECF No. 69 at 7-18. In response.

 Petitioner docs not contest actual innocence but, rather, argues that, pursuant to Gary, cause and

actual prejudice exists because the Rehaifevror is structural. ECF No. 73 at 9-14. The Government

argues the Petitioner "cannot meet his burden to show that any RehaiftxYor had a 'substantial and

injurious effect'" on his proceedings." ECF No. 69 at 18-19 (citing United States v. Smith, 723

F.3d 510, 517(4th Cir. 2013)). Finally, the Government argues that Gary does not require the grant

of habeas relief on collateral review. Id. at 19-22.

    The issue at heart here is whether the Petitioner is procedurally defaulted from bringing this

claim or whether his Rehaij Q\mYY\ is cognizable on collateral review. Issues that should have been

raised on direct appeal are deemed waived, procedurally defaulted, and cannot be raised on a §

2255 Motion. Xlika/ajunas. 186 F.3d at 492. While neither the Supreme Court nor the Fourth

Circuit have made /?c/7c//7 retroactive to cases on collateral review, a habeas petition is cognizable

when, based on a change in the law subsequent to his conviction, a defendant claims that his

"conviction and punishment are for an act that the law does not make criminal." Davis v. United

States, 417 U.S. 333, at 346(1974);.vcc al.so Welch v. United States, 136 S. Ct. 1257, 1267(2016);

 Teague v. Lane, 489 U.S. 288 (1989). Moreover, while Gary left the question unanswered as to

whether district courts could apply Rehaif YQiroactively, Gary determined that the Rehaiferror is

"stmctural" and does not require a case-specific showing of prejudice because it "per se affects a

defendant's substantial rights." Gary at 200-02. This signals for district courts a substantive change

in law that allows a Petitioner to show cause and prejudice to overcome procedural default for
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        claims. See e.g.. Karllon Ray Cherry v. United States, 2:!7crl45, Dkt. 55 (E.D. Va.

 November 4, 2020); but see. McCaidey v. United States. I:13cr423, 2020 5881270, at *7(M.D.

 N.C. Sept. 4, 2020). Accordingly, a petitioner's default for Rehaijc\di\m on collateral review "may

 be excused in two circumstances: where [Petitioner] can establish (1)that he is 'actually innocent'

or(2)'cause' for the default and 'prejudice resulting therefrom." United States v. Fugit, 703 F.3d

248, 253-54(4th Cir. 2012)(quoting Boiisley v. United States, 523 U.S. 614,621-22(1998)). The

Court will examine these issues in turn.


   1. Petitioner Did Not Establish Actual Innocence


   First, the Court finds that Petitioner has not established actual innocence. "To establish actual

innocence, petitioner must demonstrate that, in light of all the evidence, it is more likely than not

that no reasonable Juror would have convicted him." Bousley, 523 U.S. at 623 (internal quotation

 marks omitted). "'[Ajctual innocence' means factual innocence, not mere legal insufficiency." Id.

at 623-24 (citing Sawyer v. Whitiey, 505 U.S. 333, 339 (1992)). Petitioner has not argued that he

is innocent in violating § 922(g). Where Petitioner fails to provide any factual allegations to

support this claim, the Court cannot grant such a claim. See Nickerson v. Lee,971 F.2d 1 125, 1136

(4th Cir 1992). Furthermore, a claim of actual innocence is best addressed under a § 2241 Motion.

   2. Petitioner has .Actual Cause


    Second, the Court finds that Petitioner has actual cause. While the Government argues that

 Petitioner has not raised a novel claim. Petitioner argues that he is raising a Rehaifclaim which

 was not recognized by courts when Petitioner was convicted. Rehaif held that the mens rea or

knowledge element of § 922(g) convictions requires the government to prove beyond reasonable

doubt that the defendant both knew he possessed a fireann and that he knew of the status. Notably,

 Rehaif ve^ecXed the Government's contention that Congress had already "expected defendants
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 under § 922(g) and § 924(a)(2) to know their own statuses [and, thus, that the] provisions before

 [the Court] were constmed to require no knowledge of status." Rehaif at 2197. Therefore, the

 Supreme Court found that Rehaif claims were novel because neither Congress nor courts

 recognized them before Rehaif

     Moreover, pursuant to Reetl, Rehaif ovQiteims "a longstanding and widespread practice to

 which this Court has not spoken, but which a near-unanimous body of lower courts has expressly

 approved." Reed v. Ross, 468 U.S. I, at 17(1984). That is, cause exists where a "claim is so novel

 that its legal basis [was] not reasonably available to counsel." Id. at 16. Rehaif     that courts

 must infonn a defendant of the Government's burden to prove that a defendant knew of their

 prohibited status for § 922(g) convictions.

     Finally, this case is distinguishable from Apprendi, where the Court found that defendants

 could not establish cause for failing to raise Apprendi claims because defendants "had been making

 .4pprendi-\\ke arguments ever since the guidelines came into being." United Stales v. Sanders, 247

 P.3d 139, 145 (4th Cir. 2001). Here, the Court finds that defendants had not been making Rehaif-

 like claims to challenge § 922(g)'s knowing requirement prior to Rehaifhecause the claim was not

 available to counsel or defendants. Rehaifat 2191. Accordingly, Petitioner has actual cause.

    3. Petitioner Does Not Have Actual Prejudice


     Third, however, the Court finds that Petitioner does not have actual prejudice. The "actual

 prejudice" inquiry focuses on "the errors of which [the movant] complains." United States v.

 Frady, 456 U.S. 152, at 168 (1982). Particularly, the Court must examine whether a movant can

 establish "actual prejudice resulting from the alleged constitutional violation." Waimvright v.

 Sykes, 433 U.S. 72, 84 (1977). "The degree of prejudice we have required a prisoner to show" is

 whether "the resulting conviction violates due process." Frady at 169. With respect to challenges



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 to guilty pleas, the Supreme Court held that if a defendant's guilty plea is not "equally voluntaiy

 and knowing, it has been obtained in violation of due process and is therefore void." Boykin v.

 Alabama, 395 U.S. 238, 243 n.5 (1969). Similarly, in Henderson, the Supreme Court held that the

 violation of a defendant's right to be advised of all elements of an offense rendered a guilty plea

 "involuntaiy and the judgment of conviction was entered without due process of law." Henderson

 V. Moryan, 426 U.S. 638, at 647 (1976); see also Boiisley, 523 U.S. at 618-19 (guilty plea to §

 924(c)( 1) offense without correct understanding of elements was constitutionally invalid). That is,

 "[wjhere a defendant pleads guilty to a crime without having been informed of the crime's

 elements, this standard [of due process] is not met and the plea is invalid." Bradshaw v. Stumpf,

 545 U.S. 175, at 183 (2005). Most recently, and specific to the instant case, Gary held that a guilty

 plea to a § 922(g) offense without informing defendant of the element acknowledged in Rehaif

 was both a structural error and resulted in the denial of due process, both of"which per se affects

 a defendant's substantial rights." Gary, 954 F.3d at 200 (citing Olano, 507 U.S. at 732; United

 States V. Kniyht, 606 F.3d 171, 177 (4th Cir. 2010)).

     However, on collateral review, the prejudice standard is more difficult to establish. See Frady,

 456 U.S. 152, 166(1982)(rejecting "use of the 'plain error' standard to review [a]§ 2255 motion"

 and stating "that to obtain collateral relief a prisoner must clear a significantly higher hurdle than

 would exist on direct appeal'"); accord United States v. Mayheck, 23 F.3d 888, 891 (4th Cir. 1994)

 ("hold[ing] that the Frady cause and prejudice standard applies to ... collateral challenges to

 unappealed guilty pleas"). When raising a forfeited attack on a guilty plea, a defendant can only

 demonstrate that an error affected his substantial rights or establish prejudice on collateral review

 by "show[ing] a reasonable probability that, but for the error, he would not have entered the plea,"

 Dominguez Benitez, 542 U.S. 74, 76 (2004). A defendant must satisfy this standard even if he
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 establishes that the district court committed an eiTor in his plea colloquy. See, e.g.. United States

 V. Cannady\ 283 F.3d 641, 647-48 (4th Cir. 2002).

     Here, Petitioner directly appealed his sentence arguing that the district court erred in finding

 that he assaulted a law enforcement officer in the course of the offense. ECF Nos. 24, 26. However,

 Petitioner did not raise the Rehaif"\ssue. Thus,even if there was an en*or. Petitioner must show that

 any error prejudiced his substantial rights.

    aj There was an Error

   The Court's acceptance of Petitioner's plea and SOF was an error because it did not contain the

 required   /?<:///knowledge element showing that Petitioner Icnew of his prohibited status. See ECF

 No. 13; See al.so ECF No. 20 at \f 2-3 (On March 16, 2010, Petitioner pleaded guilty and parties

 stipulated to no written plea agreement.). Federal Rule of Criminal Procedure 11 requires that

 before accepting a guilty plea, the Court must inform a defendant of, and confimi that he

 understands, the nature of the charge to which he is pleading. Fed. R. Crim. P. 1 l(b)(G). Rule 1 1 's

 puipose is to ensure that a defendant is fully informed of the nature of the charges against him and

 the consequences of his guilty plea. See Fed. R. Crim. P. 1 1(b). However, the Court's acceptance

 of Petitioner's plea without infonuing him that the government was required to prove an additional

 element was error that violated the requirements of Rule 11. See Lockhart, 947 F.3d at 196. At the

 time of Petitioner's guilty plea, the patties and the district court relied on the Couit's decision in

 United States v. Langley, 62 F.3d 602,606(4th Cir. 1995){en banc), abrogated by Rehaif, 139 S.

 Ct. at 2191, wherein the Court held that knowledge of one's prohibited status was not a required

 element of a ^ 922(g) offense. Accordingly, this element was missing from the Petitioner's plea

 agreement and Statement of Facts. ECF Nos. 23, 26, 27. After Rehaif, and nine years after

 Petitioner was sentenced and he appealed, the Fourth Circuit decided Lockhart, holding that it is



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 plain error to accept a guilty plea based on a pre-/?e/?i7//" understanding of the elements of a §

 922(g)(1) offense. Lockharl, 947 F.3d at 196. Therefore, there is an error here.

     h) The Error Was Harmless ami Did Not Prejudice Petitioner's Substantial rights

    Even if there is an error, the Court finds that Petitioner cannot show that there was prejudice

 because the error was harmless and did not affect his substantial rights. See Olano at 732. An error

 is harmless on collateral review unless it had a "substantial and injurious effect" on the defendant's

 conviction. Unilcd Slates v. Smith, 723 F.3d 510, 517 (4th Cir. 2013); accord Barnes v. Thomas,

 938 F.3d 526, 533 n.3 (4th Cir. 2019)(explaining that the Brecht standard is a "'less onerous

 harmless-error standard' than the requirement on direct appeal that an error be proven 'hannless

 beyond a reasonable doubt'" (quoting Brecht v. Abrahamson, 507 U.S. 619, 623 (1993))). The

 error "'may be quantitively assessed in the context of other evidence presented [at trial] in order

 to detennine whether [the error was] harmless beyond a reasonable doubt.'" Gonzalez-Lopez, 548

 U.S. at 148, 126 S.Ct. 2557 (citing Arizona v. Fiilminante, 499 U.S. 279 at 307-08 (1991)).

 Petitioner bears the burden ofshowing that the eiTor was not harmless. See Miller v. United States,

 261 F.2d 546, 547 (4th Cir. 1958). To establish that a Rule 11 error has affected substantial rights,

 a Petitioner must "show a reasonable probability that, but for the eiTor, he would not have entered

 the plea ... [and] satisfy the Judgment of the reviewing court, informed by the entire record, that

 the probability of a different result is 'sufficient to undennine the confidence in the outcome' of

 the proceeding." United States v. Dominguez Benitez, 542 U.S. 74, at 83(2004)(citing Strickland

 1'. Washington, 466 U.S. 668, at 694(1984)).

    At the same time, the Supreme Court has recognized that a conviction based on a

 constitutionally invalid guilty plea cannot be saved "even by overwhelming evidence that the

 defendant would have pleaded guilty regardless." Dominguez Benitez, 542 U.S. 74, at 84 n.lO. For



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 example, in Bousley, the Supreme Court held that a guilty plea is constitutionally valid only to the

 extent it is "voluntary" and "intelligent." Id. at 618. A plea is not intelligent unless a criminal

 defendant first receives "real notice of the true nature of the charge against him, the first and most

 universally recognized requirement of due process." Id. {citing Smilh v. O'Grady, 312 U.S. 329,

 at 334(1941));.\ec a/so, Henderson,426 U.S. 637, at 645-46(Holding that despite the Government

 hav ing overwhelming evidence of defendant's guilt, the defendant's guilty plea to second degree

 murder was invalidated because defendant was not infonued of the mens rea requirement.).

    Unlike Bousley. the Court finds that, in the instant case, the record is oveiAvhelming with

 evidence of the defendant's knowledge of his prohibited status. Thus, any eiTor was harmless

 because it did not "affect[] the outcome of the district court proceedings." Ramirez-Castillo, 748

 F.3d at 215 (citing Olano, 507 U.S. at 734). The Rehaif error was harmless because it did not

 deprive Petitioner's autonomy interest under the Fifth Amendment due process clause since the

 consequences were not "necessarily unquantifiable and indeterminate," or too difficult to measure.

 United States i*. Gonzalez-Lopez, 548 U.S. 140, at 150(2006).

    First, Petitioner was aware that he was a felon at the time he unlawfully possessed the fireami

 giving rise to his § 922(g) conviction. According to his PSR, Petitioner explicitly admitted to the

 probation officer preparing the report in 2010 that he knew he was a convicted felon prohibited

 from having firearms. ECF No. 15. Specifically, Petitioner stated:

        "Police came to the Traveler's Inn because of a complaint about me, I started
        fighting a police officer because I did not feel like going to jail, they arrested me
        and later found a gun, the gun was mine and I knew I was not supposed to have it
        [firearm]because I was a convictedfelon.''''

   Id. at {f 18. Petitioner received a three (3) level reduction for his acceptance of responsibility.

 Id. at 29 ("Worksheet C"). Accordingly, this evidence shows that Petitioner knew at the time he




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 entered his plea agreement that he was a convicted felon and that he knew he was not allowed to

 possess fireanns. Critically, the defendant did not object to this statement in his PSR.

    Second, at his sentencing hearing on November 29,2010, Petitioner's sole objection to the PSR

 was to the six-level enhancement that Petitioner received for assaulting a police officer. ECF No.

 33 at 3. Additionally, the Court granted the Government's motion give Petitioner an additional

 point reduction for Petitioner's acceptance of responsibility, as noted in his PSR. Id. at 8.

 Moreover, Counsel on behalf of Petitioner stated that "[Petitioner] had a gun [and] he knew it was

 wrong." Id. at 12. Therefore, Petitioner did not object to the PSR, regarding his statement that he

 knew he was not allowed to possess a firearm and admitted at the sentencing hearing that he knew

 he was not supposed to possess it.

    Third, in his SOF, Petitioner agreed that he was convicted in "1998 for Possession of Stolen

 Goods, in 2002 for Robbery in the Second Degree, and in 2008 for Eluding Police, which are

 felony crimes punishable by imprisonment for a term exceeding one year." To be sure, a

 stipulation, standing alone, does not foreclose a /?e/7c/// claim, because one can stipulate that he

 was a felon without stipulating that he knew he was a felon. Fiowever, as various sister courts have

 found, stipulations are one factor among many that may be probative ofthe defendant's knowledge

 of his prohibited status. See. e.g.. United States v. Raymore,965 F.3d 475,485 (6th Cir. 2020)("A

 jury could infer from Raymorc's stipulation to his prior felony conviction the requisite knowledge

 of his status for a § 922(g) conviction."); United States v. Benamor,937 F.3d 1 182, 1188 (9th Cir.

 2019)(noting the significance of the defendant's stipulation to prior felonies).

    Fourth, the Petitioner's state record, as documented in the PSR,demonstrates that he was aware

 of his prohibited status. The Court found his criminal history categoiy to be V. ECF No. 15 ^ 87.

 Indeed, prior to his March 2010 an est for this case, he had been convicted of at least three prior


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 felonies. Id. ^ 30-31. In short, the Petitioner had sei^ved substantial time in prison which is

 probative of the fact that Petitioner was aware that he had been convicted of a crime punishable

 by more than one year in prison and that he knew he could not possess a firearm. Accordingly,

 consistent with sister jurisdictions, this Court finds that Petitioner's previous felony convictions

 made him aware of his membership in the prohibited class of people under § 922(g)(1). See, e.g..

 Raymore. 965 F.3d at 486 (6th Cir. 2020)(holding defendant could not show plain error after a

 Jury trial in light of past felony convictions, including for being a felon in-possession); United

 States V. Huntsheny\ 956 F.3d 270, 285 (5th Cir. 2020)(stating that "there is little possibility that

 [a defendant] was ignorant of his status as a convicted felon" when he had previously been

 convicted of a felony sex offense and received a two-year suspended sentence); United States v.

 Miller, 954 F.3d 551, 560 (2d Cir. 2020)("The PSR shows that [defendant's] prior [felony]

 conviction... removes any doubt that [defendant] was aware of his membership in § 922(g)(l)'s

 class."); United States v. Reed,941 F.3d 1018, 1022(1 1th Cir. 2019)(holding that defendant could

 not show plain eiTor necessary to vacate his guilty plea where the PSR indicated that he "had

 served a minimum of 18 years in prison before being an'estcd for possessing the firearm"); United

 States V. Hollingshed, 940 F.3d 410, 416 (8th Cir. 2019), cert, denied, 140 S. Ct. 2545 (Mar. 23,

 2020) (defendant could not show Rehaif en'or in light of having served a four-year prison

 sentence).


    Accordingly, the Court finds that any Rehaif Qvror did not violate Petitioner's right to make a

 fundamental choice regarding his own defense in violation of his Sixth Amendment autonomy

 interest or to be the "master of his own defense." McCoy v. Louisiana, 138 S. Ct. 1500, at 1508

 (2018). Here, the RehaiJ qitov was not substantial "on the ground that fundamental unfairness

 results when a defendant is convicted of a crime based on a constitutionally invalid guilty plea."



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 Gary at 207 (citing Gideon         Wainwrighl, 372 U.S. 335, at 343-45 (1963)). Unlike Gary.

 Petitioner in this case did not "waive[] his trial rights after he was misinformed regarding the nature

 of a § 922 offense and the elements the government needed to prove to find him guilty." Gary at

 207. Pursuant to Rehaif "the defendant's status is the 'crucial element' separating innocent from

 wrongful conduct." Rehaif. 139 S. Ct. at 2197. Here, Petitioner was not innocent and, thus, the

 Court did not "deny him any opportunity to decide whether he could or desired to mount a defense

 to this element of his § 922(g)(1) charges" because Petitioner accepted responsibility and made a

 "knowing and intelligent decision regarding his own defense." Gary at 207. Petitioner's right to

 make an informed decision about whether to plead guilty or to exercise his right to go to trial was

 not abrogated because he knew of his prohibited status.

    The Court's finding is consistent with its previous decisions. For example, the Court denied a

 petitioner's § 2255 based on § 922(g)(1) RehaifoXmrn because the Court found that the petitioner

 was informed in his plea agreement, plea hearing, and by defense counsel of the element

 acknowledged in Rehaif. See United Stales v. Ernest Dwayne Riley, No. 2:19crl24, Dkt. 57(E.D.

 Va. October 27, 2020); See Id. at ECF No. 27 at [f 3 (Defendant agreed that he "knew about his

 conviction and had not had his right to possess a fireann restored."). Similarly, in another case, the

 Court also denied a petitioner's § 2255 based on § 922(g)(1) RehaifbQCdiUSQ the Court found that

 the petitioner agreed that he willingly and knowingly possessed the firearm in violation of the

 statute. See United States v. James C. Lamb. No. 2:17cr35, Dkt. 53 (E.D. Va. October 22, 2020);

 See Id. at ECF No. 19 (Defendant agreed that "in furtherance of the offenses charged in the []

 Indictment...were done willfully and knowingly with the specific intent to violate the law.").

        Therefore, the Court finds that any Rehaiferror was hannless because it did not prejudice

 Petitioner's substantial rights.



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                                            IV. CONCLUSION


         For the reasons stated above, Petitioner's § 2255 Motion is DENIED.

        This Court may issue a certificate of appealability only if the applicant has made a

 substantial showing of the denial of a constitutional right. 28 U.S.C. § 2253(c); Fed. R. App. P.

 22(b)(1). This means that Petitioner must demonstrate that "reasonable jurists could debate

 whether... the petition should have been resolved in a different manner or that the issues presented

 were 'adequate to deserve encouragement to proceed further.'" Slack v. McDaniel, 529 U.S. 473,

 484(2000)(quoting Barefool v. Eslelle,463 U.S. 880,893, n.4(1983));see United States v. Swaby,

 855 F.3d 233, 239 (4th Cir. 2017). Petitioner's claims are based upon incorrect interpretations of

 slatutoi7 provisions and judicial precedent. As such, Petitioner fails to demonstrate a substantial

 showing of a denial of a constitutional right, and a Certificate of Appealability is DENIED.

        In addition, the Court ADVISES Petitioner that he may appeal from this final Order by

 forwarding a written notice of appeal to the Clerk of the United States District Court, United States

 Courthouse, 600 Granby Street, Norfolk, Virginia 23510. The Clerk must receive this written

 notice within sixty (60) days from this Order's date. The Court DIRECTS the Clerk to provide a

 copy of this Order to all Parties.

        IT IS SO ORDERED.


 Newport New, Virginia
 November ^,2020                                                Rayinond/\;^acKsoii
                                                                United States District Jiu^




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